      Case 8-19-72773-las            Doc 17       Filed 05/29/19       Entered 05/29/19 13:05:21




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                Chapter 7

Eunjoo Jang aka Eun Joo Jang, and                                     Case No: 8-19-72773-LAS
Jongdo Won aka Jong Do Won,

                                             Debtors,
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                   ORDER PURSUANT TO 11 U.S.C. § 362(d)
        MODIFYING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

       Upon the motion, dated April 17, 2019 (the “Motion”), of Sunkyung Choi (the “Creditor”),

for an order, pursuant to Section 362(d) of Title 11 of the United States Code (the “Bankruptcy

Code”) vacating the automatic stay imposed in the above-captioned case by Section 362(a) of the

Bankruptcy Code as to allow the Creditor to proceed in an action pending in the United States

District Court for the Eastern District of New York, Index No. 17-cv-07295, titled Choi v. Jkawon,

Inc., et al. (the “District Court Action”); and due and proper notice of the Motion having been made

on all necessary parties; and the Court having held a hearing on the Motion on May 9, 2019; and

upon due consideration of all papers and argument made by the parties; and upon all of the

proceedings had before the Court; and the Court having found cause to lift the automatic stay

pursuant to the factors set forth in In re Sonnax Indus., Inc., 907 F.2d 1280 (2d Cir. 1990); and

after due deliberation and sufficient cause appearing, it is hereby,

       ORDERED that the Motion is granted as provided herein; and it is further

       ORDERED that the automatic stay imposed in this case by section 362(a) of the

Bankruptcy Code is vacated under section 362(d)(1) of the Bankruptcy Code as to permit the

District Court Action to proceed against the Debtors; and it is further
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       ORDERED that the enforcement of any judgment obtained in the District Court Action

remains stayed pursuant to Section 362(a) of the Bankruptcy Code.




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 Dated: May 29, 2019                                              Louis A. Scarcella
        Central Islip, New York                            United States Bankruptcy Judge
